CaS€ 18-16635-|eb DOC 1 Entered 11/07/18 10229:33

Fill in this information to identify your case:

  

Case number (/f)<nown):

 

) Uniied States Bankruptcy Court for ihe:

Districf of NEVADA

l_H,apter you are filing un

Chapter 7
a Chapter 11
U Chapter12
§_U.."Chapter 13

Page 1 of 70

 
  
 
 
 

RECEIV
AHD F|i_

naa§wuu 7 am 1012

U.S.§ BANKRL;?TCY CQ'U’R",
MABY A. SCHOTT, Ci‘.[r`\;\

EU
ED

MAG

El Check if this is an
amended filing

 

Official Form 101

Vo|untary Petition for lndividuals Filing for Bankruptcy

12/17

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m ldentify Yourself

 

1. Your full name

Write the name that is on your
government-issued picture
identification (for example,
your driver’s license or
passport).

Bring your picture
identification to your meeting
with the trustee.

 

 

 

AboutDebtor1: About Debtor 2 (Spouse Only in a Joint Case):
Rhonda

First name First name

Denise Rachell
Middle name Middle name

Cotton

Last name Last name

Sufo (Sr., Jr., ll, ll|)

suffix (sr., Jr., n, m)

 

2. A|| other names you
have used in the last 8

 

421/10/\&@/

_v

 

 

 

 

 

 

identification number
(lT|N)

 

F` ame » First name
Yea'$ éif\®/€, Q&@/\Qli
|nc|ude your married Or Midd|e name Midd|e name
maiden names. grown

Last name Last name

First name First name

Midd|e name Midd|e name

Last name Last name

3. Only the last 4 digits of
. . - - 9318 _ _

your Soclal Securlty XXX XX _- -_ -_ _ XXX XX __ __ __ __
number or federal oR oR
individual Taxpayer

9xx-xx- 9xx-xx-

 

 

Official Form 101

Vo|untary Petition for individuals Filing for Bankruptcy

page 1

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Debtor 1 Rhonda Denise Rachell Cotton case number (,»,k,,ow,,,
First Name Middle Name Last Name
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

4. Any business names
and Employer
identification Numbers
(ElN) you have used in
the last 8 years

lnc|ude trade names and
doing business as names

H_

m l have not used any business names or E|Ns.

n | have not used any business names or E|Ns.

 

Business name

Business name

 

Business name

H_

Business name

H_

H_

 

5. Where you live

3412 Brayton Mist Drive

lf Debtor 2 lives at a different address:

 

 

 

 

 

 

Number Street Number Street

North Las Vegas NV 89081

City State ZlP Code City State ZlP Code
Clark

County County

lf your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

3412 Brayton Mist Drive

lf Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

Number Street Number Street

P.O. Box P.O, Box

North Las Vegas NV 89081

City State ZlP Code City State ZlP Code
6. Why you are choosing Check one.' Check one:

this district to Fi|e for
bankruptcy

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

n l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

n | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Vo|untary Petition for lndividuals Filing for Bankruptcy page 2

 

Debtor 1

Case 18-16635-|eb DOC 1 Entered 11/07/18 10:29:33 Page 3 of 70

First Name

Rhonda Denise Rachell

Middle Name

Cotton

Last Name

Case number (irimown)

mTell the Court About Your Bankruptcy Case

7.

 

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for /ndividua/s Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

§;Zi Chapter 7
El Chapter 11
El Chapter 12
EChapter 13

 

How you will pay the fee

gail will pay the entire fee when | file my petition. P|ease check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. lf your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address

Cl | need to pay the fee in installments if you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

iii request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your feel and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Ofticial Form 103B) and tile it with your petition,

 

 

Have you filed for
bankruptcy within the

§ZNo

 

 

 

 

 

 

 

 

 

last 8 years? ,u,;Yes. District When Case number
MM/ DD / YYYY
District When Case number
MM/ DD / YYYY
District When Case number
MM/ DD / YYYY
10. Are any bankruptcy iam
cases pending or being ;-- _ y
filed by a spouse who is in Yes. Debtor Re|ationship to you
not filmg th's ca_se w'th District When Case number, if known
you, or by a business MM / DD /YYYY
partner, or by an
affiliate?
Debtor Re|ationship to you
District When Case number, if known
MM / DD / YYYY
11. Do you rent your § `No_ Go to line 12_
res'den°e? Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

Official Form 101

[U` No. Go io line 12.

§i:i'>Yes. Fill out /nitia/ StatementAbout an Evi'ction JudgmentAgainst You (Form 101A) and file it with
this bankruptcy petition.

Vo|untary Petition for individuals Filing for Bankruptcy page 3

Case 18-16635-|eb DOC 1 Entered 11/07/18 10:29:33 Page 4 of 70

Debtori Rhonda Denise Racheil Cotton Case number (,.,known)
Fiist Name Middle Name

 

Last Name

m Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor §UNC,_ Go to part 4,

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individua|, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

|f you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

EYes. Name and location of business

 

Name of business if any

 

Nu mber Street

 

 

city State ziP code

Check the appropriate box to describe your business.'

§UWHealfh Care Business (as defined in 11 U.S.C. § 101(27A))
U`Single Asset Rea| Estate (as defined in 11 U.S.C. § 101(51B))
m Stockbroker (as defined in 11 U.S.C. § 101(53A))
JUCommodity Broker (as defined in 11 U.S.C. § 101(6))

iad None of the above

 

 

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of small

business debtor, see
11 u.sc. § 101(510)_

/f you are filing under Chapter 11 , the court must know whether you are a small business debtor so that it
can set appropriate deadlines lf you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations cash-flow statemenf, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

m No. l am not filing under Chapter 11.

Cl No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
the Bankruptcy Code.

Cl Yes. | am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

m Report if You Own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

14. Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Ochial Form 101

m No
Cl Yes. what is the hazard?

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State ZlP Code

Vo|untary Petition for individuals Filing for Bankruptcy page 4

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Debtor1 Rhonda Denise Racheii Cotton

 

First Name Middie Name

Last Na me

Case number (irknown)

m Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Te|| the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices if you
cannot do so, you are not
eligible to file.

lf you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

thcial Form 101

About Debtor1:

You must check one:

q l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certihcate and the payment
plan, if any, that you developed with the agency.

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Vihihin 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briehng, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatished with your reasons for not receiving a
briehng before you Hled for bankruptcy.

lf the court is satished with your reasons, you must
still receive a briefing within 30 days after you tile.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days

l;l l am not required to receive a briefing about
credit counseling because of:

l;l |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

l;l Disability. My physical disability causes me
to be unable to participate in a
brieHng in person, by phone, or
through the internet, even after l
reasonably tried to do so.

l;l Active duty. l am currently on active military
duty in a military combat zone,

|f you believe you are not required to receive a
briefing about credit counseling, you must tile a
motion for waiver of credit counseling with the court.

Vo|untary Petition for individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one.'

m l received a briefing from an approved credit
counseling agency within the 180 days beforel
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Vihthin 14 days after you file this bankruptcy petition,
you MUST file a copy of the certihcate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briehng, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briehng before you Hled for bankruptcy.

lf the court is satisfied with your reasons you must
still receive a briehng within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy offhe payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days

l;l l am not required to receive a briefing about
credit counseling because of:

l;l |ncapacity. l have a mental illness ora mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

ill oisabiiity. My physical disability causes me
to be unable to participate in a
briehng in person, by phone, or
through the internet, even after l
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briehng about credit counseling, you must tile a
motion for waiver of credit counseling with the court.

Bankruptcy page 5

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Debtor1 Rhonda Denise Racheii Cotton

First Name Middle Name Last Name

m Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

Case number lirlmown)

16a. Are your debts primarily consumer debts? Consumer debts are defined iri 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a persona|, family, or household purpose.”

iii No. Go to line 16b.
Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

M No. Go to line 16c.
incur Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

E~No. l am not filing under Chapter 7. Go to line 18.

Do you estimate that after fm Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

1a. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

Part 7: S|gn Below

For you

Official Form 101

ii No
n Yes

iii-49

50-99
100-199
§’U 200-999

§§ $0-$50,000

ifr $50,001-$100,000
§U"$ioo,ooi-$soo,ooo
v $500,001-$1 million

mse-$so,ooo
§U$so,ooi-$ioo,ooo
§U'$ioo,ooi-$soo,ooo
iCl`ssoo,ooi-$i million

fivii"i,ooo-s,ooo
5,001-10,000
[U10,001-25,000

§U$i,ooo,ooi-$io million

§i:i'“$io,ooo,ooi-$so million
:350,000,001-$100 million

§U"'$ioo,ooo,ooi-$soo million

§$1,000,001-$10 million
_`$10,000,001-$50 million

_E] $50,000,001-$100 million

F;T$ioo,ooo,ooi-$soo million

Ezs,ooi-so,ooo
miso,ooi-ioo,ooo
jililviorelhan 100,000

Ei $500,000,001-$1 billion

Ei $1,000,000,001-$10 billion
Ei $10,000,000,001-$50 billion
n More than $50 billion

Ei $500,000,001-$1 billion

Ei $1,000,000,001-$10 billion
Ei $10,000,000,001_$50 billion
Ei More than 550 billion

l have examined this petition, and l declare under penalty of perjury that the information provided is true and

correci.

|fi have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

i understand making a false statement concealing property, or obtaining money or property by fraud in connection

  

with a b - r ptcy case can re

  

/,
,i,ti l

Vo|untary Petition for individuals Filing for Bankruptcy

 

Signa ure ofDebtor 1 V

Exec/uted on // péO/Y

MM /DD /YYYY

in fin $2 000, or imprisonment for up to 20 years or both.
n ;:1. § :

Signature of Debtor 2

Executed on
MM/ DD /vYYY

page 6

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Debtor1 Rhonda Denise Rachell Cotton Case number (i,k,,ow,,,

Fiist Name Middle Name Last Name

 

 

 

|, the attorney for the debtor(s) named in this petition, declare that i have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eiigibie. | also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no
lf you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect

by an attorney, you do not

For your attorney, if you are
represented by one

 

 

 

 

 

 

 

 

need to tile this page. x
Date
Signature of Attorney for Debtor MM / DD / YYYY
Printed name
Firm name
Number Street
City State ZlP Code
Contact phone Emai| address
Bar number State

   

Official Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 7

Case 18-16635-|eb Doc 1 Entered 11/07/18 10:29:33 Page 8 of 70

 

 

 

Debtor1 Rhonda Denise Rachell Cotton Case number annum

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy couit, but you
bankruptcy Wifh°uf an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

lf you are represented by
an attorney’ you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to me this page_ technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. |fthat happens, you could lose your right to ile another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
couit. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
iri your schedules lf you do not list a debt, the debt may not be discharged. lf you do not list
property or properly claim it as exempt, you may riot be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest iri your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

lf you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are iling for yourself To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Ru|es of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

E|No

/ Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incompletel you could be fined or lmprisoried?

uNo

les

Did you pay or agree to pay someone who ls not an attorney to help you fill out your bankruptcy fon'ns?
n No

Cl Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Dec/aration, and Signature (Official Form 119).

 

 

 

 

 

By signing here, l acknowledge that l understand the risks involved in illng without an attorney. l
have read and understood this notice, and l am aware that iling a bankruptcy case without an
attorney may cause me to lose roperty if l do not properly handle the case.

  

 

 

 

 

 

X
Signature of Debtor 2
Date
MM/ DD /WYY
Contact phone 7022751824 Contact phone
Cell phone Cell phone
Email address Email address

 

 

     

Official Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 8

Case 18-16635-|eb Doc 1 Entered 11/07/18 10:29:33 Page 9 of 70

Fill in this information to identify your case:

Debtor1 Rhonda Denise Rachell Cotfon

First Name Middle Name Last Name

Debtor 2
(Spouse, iifiling) Firsi Name Middle Name Lasi Name

 

United States Bankruptcy Court for the: District of NEVADA

case number El check ifthis is an
‘" k"°""‘ amended Hling

 

 

Official Form 1063um
Summary of Your Assets and Liabi|ities and Certain Statisticai information 12/15

 

Be as complete and accurate as possib|e. if two married people are Hiing together, both are equally responsible for supplying correct
infonnation. Fi|i out all of your schedules Hrst; then complete the information on this fonn. if you are Hiing amended schedules after you Hie
your original forms. you must fill out a new Summary and check the box at the top of this page.

m Summarize ¥our Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

 

 

 

 

1a. Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... $ 0
1b1 Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 400
1c. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... s 400
m Summarize Your Liabi|ities
Your liabilities

Amount you owe

2. Schedule D.' Creditors Who Have Claims Secured by Property (Official Form 1060)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ 5 _ME_-_

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

 

 

 

 

 

 

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ $ 0
3b. Copy the total claims from Part 2 (nonprlority unsecured claims) from line 6j of Schedu/e E/F ....................................... + $ 26402
Your total liabilities s 1035253
m Summarize ¥our lncome and Expenses
4. Schedule I.' Your/ncome (Official Form 106|)
Copy your combined monthly income from line 12 of Schedule l .......................................................................................... $ 2460
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule J .................................................................................................... $ 3311

 

 

 

Official Form 1068um Summary of ¥our Assets and Liabi|ities and Certain Statisticai information page 1 of 2

Case 18-16635-|eb Doc 1 Entered 11/07/18 10:29:33 Page 10 of 70

Debtor1 Rhonda Denise Racheil Cotton Case number (,.,kmwn)

 

First Name Middle Name Last Name

mAnswer These Questions for Administrative and Statisticai Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

 

\lo. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

v/es

 

 

 

 

7. What kind of debt do you have?

E*:Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personai,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

UYour debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

 

 

8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Ofncial
Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 1220-1 Line 14. 3 3462

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Scheduie E/F:

 

 

Total claim
From Part 4 on Schedule E/F, copy the foilowing:

9a Domestic support obligations (Copy line Ga.) $ 0

9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ 0
9c. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $ 0
9d. Student loans. (Copy line 6f.) $ 0
9e. Obligations arising out of a separation agreement or divorce that you did not report as s g

priority claims. (Copy line Gg.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ 0
99. Tota|. Add lines 93 through 9f. $ 0

 

 

 

 

 

Official Form 10GSum Summary of Your Assets and Liabi|ities and Certain Statisticai information page 2 of 2

 

Case 18-16635-|eb Doc 1 Entered 11/07/18 10:29:33 Page 11 of 70

Fill iri this information to identify your case and this filing:

Debtor1 Rhonda Denise Rachell CO“°“

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if l'liing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of NEVADA

Case number

 

E| check if this is an
amended iiling

 

 

Official Form 106A/B
Schedule AlB: Property 12/15

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possib|e. if two married people are filing together, both are equally
responsible for supplying correct information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest ln

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

§ No. Go to Part 2.
EUYes. Where is the property?

what ls the property? Check a" that app|y' Do not deduct secured claims or exemptions Put
m Sing|e-family home the amount of any secured claims on Schedule D:
1_1_ Glenn Home Creditors Who Have Claims Secured by Property.

Street address, if available, or other description

 

n Duplex or multi-unit building

 

 

 

 

 

 

n C°“d°mi“ium °' °°°Pe'a“"e Current value of the Current value of the
Loc: 3022 Winter Sunset Ave va, Nv n Manufactured or mobile home entire property? portion you own?
ames El Land $ 372413 $ 0
n investment property
, l;| Time$hare Describe the nature of your ownership
C'ty State Z'P Code n h interest (such as fee simple, tenancy by
Ot er the entireties, or a life estate), if known.
Who has an interest in the property? Check one. Fee Simple
m Debtor1 only
County a Debtor 2 only n
E| Debtor 1 and Debtor 2 Only n Check if this is community property

see instructions
n At least one of the debtors and another ( )

Other information you wish to add about this item, such as local
property identification numberr mzmmm;snnsemebllx,_bllsaosi
if you own or have more than one, list here:

what ls the property? Check a" that app|y' Do not deduct secured claims or exemptions Put
m Sing|e-fami|y home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

B to . . 7
1_2_ ray n l n k k a Dup|ex or multi_umt bu"ding Cred/tors Who Have Claims Secured by Property
Street address, if available, or other description y _ y
Loc; 3412 grayton Mist Dr, N|v, Nv n C°“d°m"““m Oi C°°Pe'at“'e Current value of the Current value of the
89081 n Manufactured or mobile home entire property? portion you own?
El Land $ 287158 $ 0
n investment property
. Describe the nature of your ownership
City State ZlP Code n T'meshare interest (such as fee simple, tenancy by
n O‘he" the entireties, or a life estate), if known.
Who has an interest in the property? Check one. Fee Simple
m Debtor1 only
County a Debtor 2 only
a Debtor 1 and Debtor 2 Only n Check if this is community property
n At least one of the debtors and another (See lnstruCtiOnS)

Other information you wish to add about this item, such as local

property identification number= _JAlz_iinaymn_Mist_Di;._ij._NJ/_BMSI

Ofiicia| Form 106AIB Schedule AlB: Property page 1

Debtor 1

 

First Name Middle Name

2nd Brayton

Street address, if available, or other description

Loc: 3412 Brayton Mist Drive

1.3.

 

 

 

-Niv,-Nv-SQOSl_--___
City State ZlP Code
County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...................................................................................... ')

Describe Your Vehicles

What is the property? Check all that apply.
n Single-family home

g Duplex or multi-unit building

n Condominium or cooperative

n Manufactured or mobile home

n Land

n investment property

n Timeshare

n Other

 

Who has an interest in the property? Check one.
m Debtor 1 only

n Debtor 2 only

n Debtor1 and Debtor2 only

n At least one of the debtors and another

Other information you wish to a t thi ite
property identification number: d§m°§ray on

Rhonda §§BS€RJ\&milGGSB-|&DttorDOC l Ent€l’€d 11/07/1833€(},;.2&;$3°,,,,, Paqe 12 Of 70

Lasi Name

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$0 $0

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.
Fee Simple

 

El check ifthis is community properly
(see instructions)

Wiiss¥i$'r?$e"i~°if\'/, Nv 89081

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicle, also report it on Schedule G.' Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

la No
§U:Yes

Make:
Mode|:

3.1.

Year:

Approximate mileage:

 

Other information;

 

 

if you own or have more than one, describe here:

Make:
Mode|:

3.2.

Year:
Approximate mileage:

Other information:

 

l

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
n Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

l;l Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

l;l Debtor1 only

l;l Debtor 2 only

cl Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Schedule AlB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by P/operty.

Current value of the Current value of the
entire property? portion you own?

page 2

 

Debtor1
First Name Middle Name
3_3_ Make; Who has an interest in the property? Check one.
Mode|; liamDebtori only
Year. UDebtor 2 only

Approximate mileage:

Other inforrnation:

 

 

 

 

3_4_ Make:
Modei:
Year:
Approximate mileage:

Other information:

 

 

 

 

§ Debtor1 and Debtor 2 only
mm least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one,

r""-
§ E.l Debtor1 only

n Debtor 2 only

,El Debtor1 and Debtor 2 only

D'At least one of the debtors and another

El Check if this is community property (see
instructions)

Rhondaoasemiai»aiooss-ieomoli)oc 1 Enierecl 11/07/1@3;£%9€-@”§0@ Page 13 or 70

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es: Boats, trailers, motors personal watercraft, fishing vesselsl snowmobiles, motorcycle accessories

ii No
inn Yes

4_1_ Make:
Modei:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

4_2_ Make:
Modei:
Year:

Other information:

 

 

 

 

Who has an interest in the property? Check one.

n Debtor1 only

Cl Debior 2 only

m Debtor 1 and Debtor 2 only

El At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

m Debtor1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

El At least one of the debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

 

 

El Check if this is community property (see $ $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages $ 0
you have attached for Part 2. Write that number here ........................................................................................................................ ')

Official Form 106A/B

Schedule A/B: Property

 

 

 

page 3

Rhonda€aselia%thBSSB-|ebouoDoc 1 Entered 11/07/1§a;eq,'lg§e'ré}”§0

Middle Name

Debtor 1

wn)

 

First Name Last Name

Describe Your Personal and Household items

Do you own or have any legal or equitable interest in any of the following items?

6. Househo|d goods and furnishings
Examples: Major appliances furniture, linens, china, kitchenware

ENQ

 

§H Yes. Describe.

 

~ Funiture - Home

 

7. E|ectronics

Examples.' Televisions and radios; audio, video, stereo, and digital equipment; computers printers scanners; music
collections; electronic devices including cell phones, cameras, media players, games
iz No

Page 14 01 70

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

v$200

 

ing Yes. Describe ..........

 

 

 

8. Coliectib|es of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books pictures or other art objects;
.H stamp, coin, or baseball card collections; other collections memorabilia, collectibles
§ j No

 

m Yes. Describe ..........

 

 

 

9. Equipment for sports and hobbies

Examples.' Sporls, photographic exercise, and other hobby equipment; bicycles pool tables golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
ii No

 

m Yes. Describe ..........

 

 

10. Firearms
Examples.' Pistols, rifles, shotguns ammunition, and related equipment
No

 

m Yes. Describe ..........

 

 

11.Clothes
Examples: Everyday clothes furs, leather coats designer wear, shoes accessories

 

§§ No 5
w Yes. Describe .......... Clothing _ Home

$ 100

 

 

12.Jewelry
Examples: Everyday]ewelry, costume jewelry, engagement rings wedding rings, heirloom jewelry, watches gems,

gold, silver
§§ No

 

§U:Yes Describe...........§

 

13. Non-farm animals
Examples.' Dogs, cats, birds horses

;ZNQ

 

§twl~; Yes. Describe ..........

 

 

144Any other personal and household items you did not already |ist, including any health aids you did not list

HNQ

 

inforrnation.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .................................................................................................................................................... 9

Official Form 106A/B Schedule A/B: Property

 

$ 300

 

 

page 4

 

Dewa Rhonda<base nsi.i~.aoss-leboml;)oc 1 Enierecl 11/07/1§319@;13§-§”§"”")Page 15 or 70

First Name Middle Name Last Name

mescribe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current Value Of the
portion you own?
Do not deduct secured claims
or exemptions

 

 

16. Cash
Examples.' Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

@No

15 Yes ................................................................................................................................................................ Cash: _______________________ $

17. Deposits of money
Examples.' Checking, savings or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions lf you have multiple accounts with the same institution, list each.
113 No

w Yes ..................... institution name:

17_11 Checking account Checking/ Saving Account - America First Credit Union 100

17.2. Checking account

 

17.3. Savings account

 

17.4. Savings account

 

17.5_ Certificates of deposit

 

17.6. Other financial account

 

17_7. Other financial account:

 

17.8. Other financial account

 

17.9. Other financial account

€B€B€B€h€h€h€h€h€h

 

18. Bonds, mutual funds, or publicly traded stocks
Examples.' Bond funds, investment accounts with brokerage firms, money market accounts

EHNQ

m Yes ................. institution or issuer name:

 

 

 

19. Non-pub||cly traded stock and interests in incorporated and unincorporated businesses including an interest in
an LLC, partnership, and joint venture

 

13 No Name of entity: % of ownership:
EUYes. Give specific %
information about
them ......................... %

 

%

 

Official Form 106A/B Schedule AlB: Property page 5

bebiom Rhonda BaiseitiaSiiéIiBGSB-let:bnoli)oc 1 Entered 11/07/1§3;€0;,2§;$,§”", Page 16 01 70

 

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiab/e instruments include personal checks cashiers' checks promissory notes, and money orders
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

HNo

§U'Yes. Give specific issuer namei
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them ....................... $
$
$
21. Retlrement or pension accounts
Examples.' interests in lRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts or other pension or profit-sharing plans
1a No
HYes. List each
account separately. Type of account: institution name:
401 (k) or similar plan: $
Pension plan: $
lRA: $
Retlrement account: $
Keogh: $
Additional account $
Addirionai account $
22. Securlty deposits and prepayments
Your share of all unused deposits you have made so that you may continue seNice or use from a company
Examples.' Agreements with landlords prepaid rent, public utilities (electric, gas, water), telecommunications
companies or others
lirr ~o
15 Yes .......................... institution name or individual:
Electric: $
Gas: $
Heating oil; $
Security deposit on rental unit: $
Prepaid rent; $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
§M No
13 Yes .......................... issuer name and description:
$
$

 

Official Form 106A/B

Schedule AIB: Property

page 6

nation Rhonda®ess concess-iebonilboc 1 Enierecl 11/07/1§319@‘9€-§”3"”"£39@ 17 or 70

First Name Middle Name Last Name

 

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

MNo

m Yes """"""""""""""""""" institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

fine

15 Yes. Give specific
information about them.... $

 

 

 

 

26, Patents, copyrights trademarks trade secrets, and other intellectual property
Examples: lnternet domain names, websites, proceeds from royalties and licensing agreements

§;Zir\io

§§ Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises and other general intangibles
Examples: Building permits exclusive licenses cooperative association holdings liquor licenses professional licenses

§,`lZi§ rio
m Yes. Give specific ;
information about them....§ $

 

 

 

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you
§T No
1_1;|” Yes. Give specific information
about them, including whether

you already filed the returns State:
and the tax years .......................

 

Federal: $

Loca|:

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

mm

 

 

 

 

 

fm Yes. Give specific information ..............
Aiimony: $
Maintenance: $
Support: $
Divorce settlement $
Property settlement $
30. Other amounts someone owes you
Examples.' Unpaid wages, disability insurance payments disability benefits sick pay, vacation pay, workers’ compensation,
Soclal Security benefits; unpaid loans you made to someone else
ii No
m Yes. Give specific information ...............
$

 

 

 

Official Form 106A/B Schedule AIB: Property page 7

Debtor1 Rhonda®ese R=&hli®€SB-|ebono®oc 1 Entereo| 11/07/1§3;€@§,?,,9§,$&”"£39€ 18 of 70

First Name Middle Name Last Name

 

 

31. interests in insurance policies
Examples.' Hea|th, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

m No

m Yes. Name the insurance company

_ _ _ Company name: Benehciary: Surrender or refund value:
of each policy and list its value.

 

 

 

32_ Any interest in property that is due you from someone who has died

lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

@No

i`|j Yes. Give specific information ..............

 

 

33, Claims against third parties whether or not you have filed a lawsuit or made a demand for payment
Examples.' Accidents, employment disputes insurance claims or rights to sue

MNO

H:_.l:Yes. Describe each claim. ....................

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

EE No
§E: Yes. Describe each claim. ....................

 

 

35.Any financial assets you did not already list

§§ No

m Yes. Give specific information ............ s

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number here .................................................................................................................................................... ') $ 100

 

 

 

Describe Any Business-Re|ated Property You Own or Have an interest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
T No. Go to Part 6.
§§ Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

38_Accounts receivable or commissions you already earned
[Z No 4
m Yes. Describe .......

 

 

39. Office equipment, fumishings, and supplies
Examples: Business-related computers software, modems printers copiers tax machines rugs telephones desks chairs electronic devices

m No
§§ Yes. Describe .......

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 8

Debtor1 Rhondarieasemaiaiec?»§-iei:mmpoc 1 Emered 11/07/1§3;,<3§3@;§§,,,,", Page 19 of 70

First Name Middle Name Last Name

 

 

40. Machinery, fixtures equipment, supplies you use in business and tools of your trade

MNQ

inv Yes. Describe.__....§ $

 

 

 

41.inventory
1 No
iii Yes. Describe ,,,,,,,

 

 

 

 

42. interests in partnerships or joint ventures

13 No

 

 

§§ YeS~ Describe """"" Name of entity: % of ownership:
% s
%
% $

 

43. stomer iists, mailing lists or other compilations
1 No
rif Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

ENQ

 

 

 

 

 

 

 

 

 

 

 

m Yes. Describe ........
$
44. business-related property you did not already list
. . No
iii Yes. Give specinc $
information .........
$
$
$
$
$
45. Add the dollar value of ali of your entries from Part 5, including any entries for pages you have attached $ 0
for Part 5. Write that number here .................................................................................................................................................... -)

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an interest ln.
if you own or have an interest in fann|and, list it in Part1.

 

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
.. No. Go to Part 7.
§U Yes. co to line 47.
Current value of the
portion you own?
Do not deduct secured claims

 

or exemptions
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
[Z_ No
ij Yes .........................
$

 

 

Official Form 106A/B Schedule AIB: Property page 9

Debtor1 Rhonda§a§§ ii§hgiBGSB-|ebomi;)oc 1 Entered 11/07/1§£$_.01@§€'1$”§”")|339€ 20 of 70

 

 

First Name Middle Name Last Name

48. Crops-either growing or harvested

MNO

m Yes. Give specific
information ............. $

 

 

49. Farm and fishing equipment, implements machinery, fixtures and tools of trade
No

§U Yes ..........................

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
50. Farm and fishing supplies chemicals and feed
§Z No
raw Yes ..........................
$
51.An, farm- and commercial fishing-related property you did not already list
, § No
§ Yes. Give specific
information ............. $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0
for Part 6. Write that number here .................................................................................................................................................... 9
Describe All Property You 0wn or Have an interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples.' Season tickets country club membership
§§ No
m Yes. Give specific $
information ............
54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 $ 0
List the Totals of Each Part of this Form
0
55, Part 1: Total real estate, line 2 .............................................................................................................................................................. 9 $
56. Part 2: Total vehicles, line 5 $
. . 300
57. Part 3: Total personal and household items, line 15 $
. . . 100
58. Part 4: Total financial assets line 36 $
59. Part 5: Total business-related property, line 45 $ 0
60. Part 6: Total farm- and fishing-related property, line 52 $ 0
61 . Part 7: Total other property not |isted, line 54 + $ 0
. 400 400
62.Total personal property, Add lines 56 through 61. .................... $ Copy personal property total 9 + $

 

 

 

 

63. Total of all property on Schedule AlB. Add line 55 + line 62 .......................................................................................... $ 400

 

 

 

Official Form 106A/B Schedule AlB: Property page 10

Case 18-16635-|eb DOC 1 Entered 11/07/18 10:29:33 Page 21 of 70

Fill in this information to identify your case:

 

Cotton

Last Na me

Rhonda

First Name

Denise Rachell

Middle Name

Debtor 1

Debtor 2

 

(Spouse, iffiling) First Name Middle Name Last Name

United States Ba nkruptcy Court for the: District of NEVADA

 

Case number
(lf known)

 

Cl check ifthis is an
amended filing

 

 

Official Form 106C

Schedule C: The Property You Claim as Exempt

04/16

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B.' Propen‘y (Official Form 106A/B) as your source, list the property that you claim as exempt. lf more
space is needed, fill out and attach to this page as many copies of Part 2.' Additional Page as necessary. On the top of any additional pages, write

your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. A|ternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory |imit. Some exemptions-such as those for health aids rights to receive certain benefits and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption

would be limited to the applicable statutory amount.

m identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

n You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)

n You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on

Schedule A/B that lists this property portion you own

Copy the value from

Current value of the Amount of the exemption you claim

Speciflc laws that allow exemption

Check only one box for each exemption.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B

Brief F““"“'° 21.090(1)(b);
description: $ 200 D $
Line from m 100% of fair market value, up to
Schedule A/B; any applicable statutory limit

Clothing
Brief 21.0201|1¢[1|.'
description: $ 300 a $
Line from m 100% of fair market value, up to
Schedule A/B; any applicable statutory limit
Brief
description: $ a $
Line from a 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?

(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

mNo

n Yes. Did you acquire the property covered by the exemption within 1,215 days before you med this case?

a No
a Yes

Official Form 106C

Schedule C: The Property You Claim as Exempt

page 1 of___

Debtor1 Rhonda geai`ii$s§l%a§l;gilGGSB-|epottoipoc 1 Emered 11/07/1§a3_e0nu§b9e:r:<3”§0w") Page 22 Of 70

First Name Middle Name Last Name

M Additional Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Brief description of the property and line Current value of the Amount of the exemptlon you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B

Brief

description: 5 Cl $

Line from Cl 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief

description: 5 Cl $

Line from Cl 100% of fair market value, up to
Schedule A/B.' _ any applicable statutory limit
Brief

description: 5 Cl $

Line from Cl 100% of fair market value, up to
Schedule A/B; _ any applicable statutory limit
Brief

description: 5 Cl $

Line from Cl 100% of fair market value, up to
Schedule A/B_~ any applicable statutory limit
Brief

description: 5 Cl $

Line from Cl 100% of fair market value, up to
Schedule A/B,l _ any applicable statutory limit
Brief
description: 5 a $

Line from Cl 100% of fair market value, up to
Schedule A/B_- _ any applicable statutory limit
Brief

description: 5 Cl $

Line from Cl 100% of fair market value, up to
Schedule A/B_~ any applicable statutory limit
Brief
description: 5 Cl $

Line from Cl 100% of fair market value, up to
Schedule A/B; _ any applicable statutory limit
Brief
description: 5 Cl $

Line from Cl 100% of fair market value, up to
Schedule A/B_~ _ any applicable statutory limit
Brief
description: 5 Cl $
Line from El 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief
description: 5 a $

Line from El 100% of fair market value, up to
Schedule A/B; _ any applicable statutory limit
Brief
description: 5 a $

Line from El 100% of fair market value, up to
Schedule A/B,l ___ any applicable statutory limit

Official Form 106C

 

Schedule C: The Property You Claim as Exempt page __ of__

CaS€ 18-16635-|eb DOC l Entel’ed 11/07/18 10229:33

Fill in this information to identify your case:

Rhonda

First Name

Cotton

Last Name

Denise Rachell

Middle Name

Debtor 1

 

Debtor 2
(Spouse, lrttiling) FirstName

 

Middle Name Last Name

United States Bankruptcy Court for the: District of NEVADA

 

Case number
l lt knownl

 

 

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

Page 23 of 70

El check ifthis is an
amended filing

12/15

 

Be as complete and accurate as possib|e. lf two married people are H|ing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additiona| Page, fill it out, number the entries and attach it to this form. On the top of any

additional pages write your name and case number (if known).

1. Do any creditors have claims secured by your property?

§_El' No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

iUZl“Yes. Fill in ali or the information below.

List All Secured ¢laims

 

_T'l' Nation Star Mr Cooper

 

Creditor’s Name

1600 E St Andrew Pl
Number Street

Describe the property that secures the claim:

 

Coiumn A Column B Column C
2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately Amount°, ehim vague of c°uat¢m' unsecured
for each c|alm. lf more than one creditor has a particular claim, list the other creditors in Part 2. 00 not deduc“he Msupp°m this pardon
As much as possible, list the claims in alphabetical order according to the creditor’s name. vague mcm|ate,.al' cia;m new

$642|9 $3224|3 $Q

 

 

Glenn Home

 

 

 

Santa Anna CA 92705

City State ZlP Code

Who owes the debt? Check one.

a Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Cl Check lt this claim relates to a
community debt

Date debt was incurred 005

As of the date you fl|e, the claim ls: Check all that app|y.

n Contingent

El unliquidated

n Disputed

Nature of lien. Check all that app|y.

m An agreement you made (such as mortgage or secured
car |oan)

n Statutory lien (such as tax |ien, mechanic's |ien)

n Judgment lien from a lawsuit

n Other (inc|uding a right to offset)

Last 4 digits of account number _6_?_09_

Home Mortgage 2nd

 

_2-_2_| National Star Mortgage / Mr Co

 

 

 

 

 

 

 

 

 

 

 

Describe the property that secures the claim: $ 600000 $ 372413 $ 227587
C edf ’ N
r mrs ama Glenn Home
1600 E St Andrew Pi
Number Street
As of the date you f|le, the claim |s: Check all that app|y.
n Contingent
Santa Ana CA 92705 n Un|iquidated
City State ZlP Code a Disputed
Wh° °We$ the debt? Check One~ Nature of l|enl Check all that apply.
cl Debf°r 1 Only a An agreement you made (such as mortgage or secured
Debtor 2 only car |oan)
E| Debtor 1 and Debtor 2 only n Statutory lien (such as tax |ien, mechanic’s |ien)
n At least one of the debtors and another cl Judgmem lien from a |aWSUif Home Mort a e
n Other(inc|uding a right to offset) g g
n Check if this claim relates to a
c mm ni d t
° “ “' °" 2005 . 6300
Date debt was incurred Last 4 digits of account number _ _ _ _
Add the dollar value of your entries |n Column A on this page. Write that number here: }$§§AZIL__

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of

 

Case 18-16635-|eb Doc 1 Entered 11/07/18 10:29:33 Page 24 of 70

Rhonda Denise Racheii

Debtor 1

Cotto" Case number (i/knawn)

 

First Name Middle Name

Last Na me

 

 

 

 

 

 

 

 

 

 

 

 

  
  

 

 

 

 

 

 

 

 

 

 

Creditors Name

Addm°nal page ColumnA Cotumn 8 Column 0
. . . . . . . Amount of claim Vatue otcotiatsrat Unsecured
After listing any entries on this page, number them beginning with 2.3, followed annot deduct me that wme portion
by 2.4, and S° forth. value mm“aterat cnw _ ..=;, . ., uaw :::t..;.:
Real Time Resol"tio"§ I"c Describe the property that secures the claim: $ 28487 $ 0 $ 28487
Creditors Name
P 0 Box 731940 2nd Brayton
Number Street
As of the date you fiie, the claim is: Check all that apply,
naiias Tx 75373-1940 9 Contingent
city state ziP code Ci Unliquidated
Ci Disputed
E%ho owes the debt? Check One- Nature of |ien. Check all that apply.
1 Debtor 1 0an m An agreement you made (such as mortgage or secured
1 Debtor 2 only car loan)
Debtor1 and Debtor 2 Only cl Statutory lien (such as tax lien, mechanic’s lien)
nn At least one of the debtors and another n Judgme\’lt lien from 3 laWSUif
Ci other (inc|uding a right to offset) Home M°rtgage He'°c
n Check if this claim relates to a
community debt
2007 8812
Date debt was incurred Last 4 digits of account number _ _ _ _
2°_4| We"§ Farg° Describe the property that secures the claim: $ 315645 $ 287158 $ 28487
Creditors Name z
l Montgomery St Brayton
Number Street 5
As of the date you fi|e, the claim is: Check all that apply.
n Contingent
San Francisco CA 94104 Ci Unliquidated
City State ZlP Code m Disputed
who owes the debt? Check One` Nature of |ien. Check all that apply.
§E Debtor 1 only m An agreement you made (such as mortgage or secured
Debtor 2 only car loan)
1 Debtor1 and Debtor 2 Only n Statutory lien (such as tax lien, mechanic’s lien)
§ At least one of the debtors and another n Judgment lien from a lawsuit
" » » - n Mortgage
El Check if this claim relates to a n Other (mc|udmg a nght to 0 Set)
community debt
2006 . 8053
Date debt was incurred _ Last 4 digits of account number _ __ __ __
_| Describe the property that secures the claim: $ $ $

 

 

 

Number Street

 

 

 

 

City State ZlP Code
Who owes the debt? Check one,

. |:l Debtor 1 only
n Debtor 2 only
§ n Debtor 1 and Debtor 2 only
rif At least one of the debtors and another

n Check if this claim relates to a
community debt

Date debt was incurred

 

Write that number here:

Ochial Form 1060

Add the dollar value of your entries iri Column A on this page. Write that number here: $ 344132

if this is the last page of your form, add the dollar value totals from all pages

As of the date you fi|e, the claim is: Check all that apply.

n Contingent

Ci unliquidated

n Disputed

Nature of |ien, Check all that apply,

n An agreement you made (such as mortgage or secured
car loan)

n Statutory lien (such as tax |ien, mechanic’s lien)

n Judgment lien from a lawsuit

n Other (inc|uding a right to offset)

Last 4 digits of account number _

 

 

$ 1008851

 

 

 

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page ___ of _

 

 

Page 25 of 70

Fill in this information to identity your case:

Rhonda

First Name

Cotton

Last Name

Denise Racheii

Middle Name

Debtor 1

 

Debtor 2
(Spouse, iff'lling) FirstName

 

Middle Name Last Name

United States Bankruptcy Court for the: District of NEVADA

Ei check ifthis is an

C .
ase number amended filing

(if known)

 

 

 

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible, Use Part 1 for creditors with PRlORlTY claims and Part 2 for creditors with NONPR|OR|TY claims
List the other party to any executory contracts or unexpired leases that could result in a claim. Aiso list executory contracts on Schedule
A/B: Property (Official Form 106AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the ieft. Attach the Continuation Page to this page. On the top of
any additional pages write your name and case number (if known).

 

12/15

 

m List All of Your PRlORlTY Unsecured Claims

 

E*_No. Go to Part 2.
ers.

 

 

 

 

 

 

1. Do any creditors have priority unsecured claims against you?

2. List ali of your priority unsecured claims lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. lf a claim has both priority and nonpriority amounts list that claim here and show both priority and
nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditor's name. if you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

Priority Creditors Name

 

Number Street

 

 

City State

Who incurred the debt? Check one

[:l Debtor1 only

[:l Debtor 2 only

n Debtor1 and Debtor 2 only

[:l At least one of the debtors and another

l:l Check if this claim is for a community debt

ZlP Code

is the claim subject to offset?
[:l No
n Yes

 

?otal claim Priority Nonpriority
amount amount
2.1
Last 4 digits of account number _ _ _ _ $ $ $
Prlorlty Creditors Name
When was the debt incurred?
Number Street
As of the date you flie, the claim is: Check all that apply
city state zlP code a C°mi"ge"t
lIl unliquidated
Who incurred the debt? Check one, a Dispu‘ed
[:l Debtor1 only
l:l Debtor 2 only Type of PRlORlTY unsecured claim:
g Deb‘°r 1 and Debtor 2 only [:l Domestic support obligations
At least one of the debtors and another [:l Taxes and certain other debts you owe the government
a check 'f th's °|a'm is for a commumty debt [:l Claims for death or personal injury while you were
is the claim subject to offset? 'nt°x'°ated
[:| No [:l Other. Speclfy
[:l Yes
22 Last 4 digits of account number _ _ _ _ $ $ $

 

 

 

When was the debt incurred?

As of the date you file, the claim ls: Check all that apply
n Contingent

lIl unliquidated

n Disputed

Type of PRlORlTY unsecured claim:
n Domestic support obligations
n Taxes and certain other debts you owe the government

[:l Claims for death or personal injury while you were
intoxicated

[:l Other. Speclfy

 

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page 1 of _

 

 

 

Debtor1 Rhonda UE€IH&QBGSS-|€¢EPHODOC l Elit€l’ed 11/07/18a§eGuB&'r330wn PaCl€ 26 Of 70

First Name Middle Name Last Name

mYour PRlORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Priority Creditor’s Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

Ci Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

is the claim subject to offset?

n No
m Yes

 

Official Form 106E/F

When was the debt incurred?

As of the date you ille, the claim ls: Check ali that apply.

m Contingent
Ci unliquidated
Ci Disputed

Type of PRlORlTY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Speclfy

E| E|E|E|

 

Schedule ElF: Creditors Who Have Unsecured Claims

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. priority Nonptiority
amount .Ha'moimt v
Last 4 digits of account number ___ ___ _ _ 5
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you ille, the claim is: Check all that appiy.
m Contingent
city state ziP code Ci unliquidated
Ci Disputed
Who incurred the debt? Check one.
Cl Debtor1 only Type of PRlORlTY unsecured claim:
n Debtor 2 only n Domestic support obligations
n Debtor 1 and Debtor 2 only ,
n Taxes and certain other debts you owe the government
Ei At least one of the debtors and another _ . _ .
n Claims for death or personal injury while you were
Ei check it this claim is for a community debt '"‘°X'°a‘ed
Ci other. specify
is the claim subject to offset?
m No
m Yes
Last 4 digits of account number __ _ _ _ 5 5
Priority Creditor‘s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that appiy.
n Contingent
city state ziP code Ci unliquidated
m Disputed
Who incurred the debt? Check one.
Cl Debtor1 only Type of PRlORlTY unsecured claim:
n Debtor 2 only m Domestic support obligations
Ci Debtor1 and Debtor 2 only .
m Taxes and certain other debts you owe the government
n At least one of the debtors and another _ . . .
m Claims for death or personal injury while you were
Cl Check if this claim ls for a community debt 'nt°x'cated
Ci other specify
is the claim subject to offset?
m No
m Yes
Last 4 digits of account number 5

 

 

 

page _ of _

 

Debtor1 Rhonda ' h l otto

First Name le L me

m List All of Your NONPR|OR|TY Unsecured Claims

red 11/07/1§31€@!‘2§§3'3"">Page-2;'-oi_fo_-_-

 

m Yes

claims fill out the Continuation Page of Part 2.

3. rD_o any creditors have nonpriority unsecured claims against you?

 

 

 

.i No. You have nothing to report in this partl Submit this form to the_court with your other schedules

4. List ali of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each ciaim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

 

 

 

 

 

 

 

 

 

 

 

Nonprion`ty Creditor’s Name

755 Baywood Drive 208

 

Number Street

Petaiuma CA 94954-5508

 

City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

is the claim subject to offset?
m No
n Yes

 

n ` tour oiairn § jr
- America First Credit U"i°" Last 4 digits of account number _80& _ _
Nonpriority Creditor’s Name $ 4300
P 0 Box 9]99 When was the debt incurred? 21le
Number Street
ogden UT 84409
city state ziP code As of the date you tile, the claim is: Check all that appiy.
n Contingent
WhO incurred \he deb\? Check One. n Unliquidated
d Debtor 1 only n Disputed
n Debtor 2 only
n Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n At least one of the debtors and another n Student loans
n check if mrs c|alm is ¢°r a community debt n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
is the claim subject to offset? n Debts to pension or profit-sharing plans and other similar debts
d No m Other. Speclfy Credit Card
n Yes
`2 | Att Last 4 digits of account number __ _ _ _ $ 1000
Nonpriorify creditor's Name When was the debt incurred? 2017
P 0 Box 537104
Number Street
As of the date ou fi|e, the claim is: Che k ll th t a l .
Aianfa GA 30353 y ° a a ppy
City State ZlP Code n Contingent
Who incurred the debt? Check one. n Unliquidated
d Debtor1 only n D'sputed
n Debtor 2 only _
n Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n At least one of the debtors and another n Student loans
_ _ n Obligations arising out of a separation agreement or divorce
Cl Check if this claim is for a community debt that you did nor report as priority Claims
ls me claim subjec‘ \° offsew n Debts to pension or profit-sharing plans and other similar debts
q No U other specify Cell Phone Bill
n Yes
4'3 Chase Receivabies Last4 digits of account number _445L _ _ $ 318

When was the debt incurred? 2016

As of the date you fi|e, the claim is: Check all that apply.

n Contingent
Cl unliquidated
Cl Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or pront-sharing plans, and other similar debts
Other. Speclfy Credit

EU UU

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims page __ of_

 

 

 

 

 

 
   

Debtor1 Rhonda ` ~ ' ~

First Name

l °i’€d 11/07/1835§®.\®9?.@®°""> DF\QD 99 of 70

 

m Your NONPR|OR|TY Unsecured Claims - Continuatlon Page

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so fotth.

 

 

 

 

 

 

 

 

 

 

 

 

Cox Communications

 

Nonpriority Creditor’s Name

750 N Rancho Dr

 

Number Street

Las Veizas NV 89145

City State ZlP Code
Who incurred the debt? Check one.

Debtor1 only
n Debtor2 only
n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

d No
El Yes

 

4.4
Last 4 digits of account number L4l_ _ _
Convergent
Nonpriority Creditor’s Name
When was the debt incurred? 2013
800 Sw 39th St/p 0 Box 9004
N b st t
um er fee As of the date you tile, the claim is: Check all that apply.
Renton WA 98057
City State ZlP Code Cl Contingent
n Unliquidated
Who incurred the debt? Check one. cl Disputed
d Debtor1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you d'd not report as pnomy c|?'ms _ k
n Debts to pension or profit-sharing pians, and other similar debts
ls the claim subject to offset? a Other Specify Cab|e
a No
El Yes
4'5 _ Last 4 digits of account number 2923 $ 445
Convergent Outsourcing _ _' _ _’ _
Nonpriority Creditofs Name 2017
When was the debt incurred?
800 Sw 39th St
N b St t
um er fee As of the date you tile, the claim is: Check all that apply.
Renton WA 98057
City State ZlP Co<:le n Contingent
Cl unliquidated
Who incurred the debt? Check one. n Drspured
o Debtor1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only n Student loans
At least one °f me debtors and another n Obligations arising out of a separation agreement or divorce that
El cheek if this claim is for a community debt y°“ d'd "°' 'eP°“ as p"°"‘y °'F’"“s 1 _
n Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? m Other. Specify Cable
a No
El Yes
`4.6 l $ 445

Last 4 digits of account number __2_923_ _ _
When was the debt incurred? 2016

As of the date you fi|e, the claim is: Check all that apply.

n Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
m Other. Speclfy Cable

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

page __ of _

Debtor1 R"°""“ ` " - °“ red 11/07/1sato.ua9eoa»wnpage m aim

FirstName idle ame Las ame

m Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim,

 

 

 

 

 

 

Total claim
Total claims Sa. Domestic support obligations 6a. $ 0
from Paru 6b. Taxes and certain other debts you owe the
government 6b. $ 0
Sc. Claims for death or personal injury while you were
intoxicated 6c
$ 0
6d. Other. Add ali other priority unsecured ciaims.
Write that amount here. 6d. + $ 0
6e. Tota|. Add lines 62 through 6d. 6e.
$ 0
Total claim
Total claims 6f. Student loans 6f. $ 0
from Part 2 69. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims 69. $ 0
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $ 0
6i. Other. Add ali other nonpriority unsecured claims.
Write that amount here. 6i. + $ 26402
6j. Total. Add lines 6f through 6i. 6j.
$ 26402

 

 

 

 

 

Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page _ of__

      

Debtor 1 Rhonda jj '

,_i
First Name '

* red 11/07/18310}’2‘9?'3®°”">-|23¢9-&3&9$_10-_

 

Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. ?otal claim

 

4.7

 

 

Crodlt Ono Bank Na Last 4 digits of account number _419§___ __ __ s 550

 

Nonpriority Creditor’s Name

wh th d bt' d? 2014
osotscirnorron Rd °"`"as ° ° '"°""° __

 

 

 

Number Street . .
As of the date you fi|e, the claim ls: Check all that app|y.
Las Vegas NV 89113
City State ZlP Code a Contingent
. a Unliquidated
Who incurred the debt? Check one. a Disputed

d Debtor1 only
a Debtor 2 only Type of NONPR|OR|TY unsecured claim:
a Debtor 1 and Debtor 2 only

 

 

 

 

 

 

 

 

 

 

 

 

a a Student loans
At least one Of the debtors and another a Obligations arising out of a separation agreement or divorce that
l;l Check if this claim is for a community debt you d'd not report as pno"ty c|é'ms _ _
a Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? q Other goech Credit Card
d No
a Yes
4»3 1352
. a 4 l' fa o nnumbe 1000
Custom Funiture Rental L st d gus ° cc u t r _ _ _ _ $_
Nonpriority Creditor’s Name
When was the debt incurred? 7/ 2018
301 S Mlk Blvd
N b st t
um er fee As of the date you fi|e, the claim is: Check all that apply.
Las Vezas NV 89106
city State ziP Code El contingent
_ El unliquidated
Who incurred the debt? Check one. a Dlsoulod
o Debtor1 only
a Debtor 2 only Type of NONPR|OR|TY unsecured claim:
a Debtor1 and Debtor2 only a Sludonl loans
a At least one of the debtors and another a Obligations arising out of a separation agreement or divorce that
a Check if this claim is for a community debt you d'd not report as pnomy c|?'ms _ _
a Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? m Other Specify Fumiture
z'i No
a Yes
4`9 L t4 d' '\s f t b tton $-8_-_-0
Desert Va"ev Ped as igi o accoun num er _ _ _ _
Nonpriority Creditor’s Name
When was the debt incurred? 2017
6850 N Durango Dr #406 _
N b st t
um er fee As of the date you fi|e, the claim is: Check all that app|y.
Las Vegas NV 89149
city state ziP code Cl contingent
l;l Unliquidated
Who incurred the debt? Check one. l;l Disputed

 

Debtor 1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
l;l Debtor 1 and Debtor 2 only

a Student loans
n At least one of the debtors and another

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or profit-sharing plans, and other similar debts

is the claim subject to offset? m Other Speclfy Medical Collection

d No
Cl Yes

a Check if this claim is for a community debt

 

 

 

omcial Form 1er/F schedule E/F: creditors who Have unsecured claims page6_ of£

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n Debtor 2 only
n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

El check if this claim is for a community debt

is the claim subject to offset?

No
n Yes

 

Debtor1 - - red 11/07/1831@‘?’2‘%@®°”">4239,%3&-91-10_-_
¥our NoNPRloRlTY Unsecured Claims - Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. total ciaim
4`10 . Last 4 digits of account number 7724
Direct T V _ _ _ _ $ 700
Nonpriority Creditor’s Name 2 0
When was the debt incurred? 15
P 0 Box 5014
N b St t
um er fee As of the date you file, the claim is: Check all that apply,
Carol Stream IL 60197-5014
city State ZlP Code n Contingent
El unliquidated
Who incurred the debt? Check one. n Dlspuled
d Debtor1 only
El Debtor 2 only Type of NoNPRloRlTY unsecured claim:
n Debtor1 and Debtor2 only n Sludom loans
n Al least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
Cl check it this claim is for a community debt y°ll d'd "°l 'e'a°" as p"°"ly °la'ms , _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? a Other Speclfy Co||ection
a No
n Yes
4'11 Last 4 di its of account number 200
E 0 S g _ '_ _ $__"_'
Nonpriority Creditors Name 2016
When was the debt incurred?
6564 Losee Rd,
N b st t
um er fee As of the date you fi|e, the claim is: Check all that apply
Las Vegas NV 89086
city state ziP Code El contingent
Cl unliquidated
Who incurred the debt? Check one, n Dlspuled
d Debtor1 only
l:l Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only n Student loans
Al least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you dld nol report as pnor'ty cla'ms , ,
n Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? w Other Speclfy gym M§mh§§hip
d No
n Yes
4.12 $ §98
‘ ' 9977
Enhanced Recovery Last 4 digits of account number _ _ _ _
Nonpriority Creditor’s Name
When was the debt incurred? 2016
8014 Bayberry Rd
N b st t
um er rea As of the date you fi|e, the claim is: Check all that apply.
Jacksonville FL 32256
city state ziP Code El contingent
n Unliquidated
Who incurred the debt? Check one, n Disputed
Debtor 1 only

 

 

 

 

 

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

E other specify Cell Phone

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 7_ Of k

Debtor 1

 

- red 11/07/183§_€0?2‘?;'33°”">-93@&32_9$_10_-__

Your NONPR|OR|TY unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

d Debtor1 only

cl Debtor 2 only

cl Debtor1 and Debtor 2 only

cl At least one of the debtors and another

cl Check if this claim is for a community debt

ls the claim subject to offset?

d No
n Yes

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. `¥‘ota| claim
4'13 . . Last 4 di its of account number 7800
First Premier Bank g _ _ _ _ $ 801
Nonpriority Creditor’s Name 0 4
_ When was the debt incurred? 2 l
1808 S Cliff Ave
Number Street _ _
As of the date you fl|e, the claim ls: Check all that app|y.
Sioux Falls SD 57105
city state ziP code C] Contingent
Cl unliquidated
Who incurred the debt? Check one. cl Dlspuled
d Debtor1 only
cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only cl student loans
Al least One el the debtors and another cl Obligations arising out of a separation agreement or divorce that
cl Check lf this claim is for a community debt you dld not ream as pm.)my claims . .
cl Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? a Other_ specify Credit Card
a No
cl Yes
4.14 _ 7800 655
First Premier Bk Last 4 digits of account number _ _ _ _ $
Nonpriority Creditor’s Name 2009
When was the debt incurred?
P 0 Box 5514
N b St t
um er fee As of the date you fi|e, the claim is: Check all that apply.
Sioux Falls SD 57117-5514
Cl\y State ZlP Code cl Contingent
Cl unliquidated
Who incurred the debt? Check one. cl Dlspuled
d Debtor1 only
Cl Debtor 2 only Type of NoNPRloRlTY unsecured clalm;
n Debtor1 and Debtor 2 only cl student loans
cl Al leasl ana al the debtors and another cl Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not ream as p"omy clam-ls , _
cl Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? m Other_ specify Credit Card
a No
cl Yes
`4.15 _ _ $600
Last 4 digits of account number _ _ __
Hsn
Nonpriority Creditor’s Name
When was the debt incurred? L
Po Box 659707
N b Si t
um er fee As of the date you file, the claim is: Check a|| that app|y.
San Antonio TX 78265
City State ZlP Code cl Contingent

Cl unliquidated
cl Disputed

Type of NONPR|OR|TY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts

m Other. Specify Credit

 

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

 

page 3_ Of k

Debtor 1

 

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Your NoNPRloRlTY Unsecured claims - Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total ciaim

 

4.16

 

 

K Jordan Last 4 digits of account number @2_ _ _ $ 467

 

 

Nonpriority Creditor’s Name

When was the debt incurred? 2018

 

 

P 0 Box 2809
Number Street
As of the date you fi|e, the claim is: Check all that app|y.
Monroe WI 53566-8009
city state ziP code l;| Contingent
EI unliquidated
Who incurred the debt? Check one. n Dlspuled

d Debtor1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n Debtor 1 and Debtor 2 only

n Student loans
n At least one of the debtors and another

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l;l Check if this claim is for a community debt , , . .
l;l Debts to pension or proiit-shanng plans, and other similar debts

 

 

 

 

 

 

 

 

 

 

 

 

ls the claim subject to offset? m Othery Speclfy Credit Card
a No
n Yes
. L t4 ' ' m 1836
Kohla€ms as digits of account nu ber _ _ _ _ $
Nonpriority Creditor’s Name 2010
When was the debt incurred?
P O Box 30510
N b s
um er treat As of the date you fi|e, the claim is: Check a|| that app|y,
Los Angels CA 90030-0510
city state ziP code l;| Contingent
EI unliquidated
Who incurred the debt? Check one, n Disputed
d Debtor1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only l;l Student loans
At least one alma debtors and another n Obligations arising out of a separation agreement or divorce that
l;l Check if this claim is for a community debt you d'd not report as pnonty cla'ms _ _
n Debts to pension or proiit-sharing plans, and other similar debts
ls the claim subject to offset? m Othery Speclfy Credit
a No
l;l ¥es
`4.18 . $_L
Last4 digits of account number _ _ _ _
Lvac
Nonpriority Creditor’s Name
When was the debt incurred? 2015
6050 N Decatur
Number Street _ _
As of the date you fl|e, the claim is: Check all that app|y.
Las Vegas NV 89031
City State ZlP Code n Contingent
_ EI unliquidated
Who incurred the debt? Check one, n Disputed
Debtor1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n Debtor 1 and Debtor 2 only l;l Student loans

n Al least one of the debtors and another Obligations arising out of a separation agreement or divorce that

EI
you did not report as priority claims

n Debts to pension or proiit-shanng plans, and other similar debts

m other. specify Gym Mem bership

l;l Check if this claim is for a community debt

ls the claim subject to offset?

éNo

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F Schedule EIF: Creditors Who Have Unsecured Claims page 9_ ofl_4

Debtor1 Rhonda _g.:_t .

First Name

 

  

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m Your NoNPRloRlTY Unsecured Claims - Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. 'fotal ctalm
4.19 , _ 7037
Midland Fundlng Last4 digits of account number _ _ _ _ $ 946
Nonpriority Creditor’s Name 2016
Wh th d btl d?
2365 Northslde i)r stc 30 °" was ° ° "°""° __
Number Street
_ As of the date you fi|e, the claim ls: Check all that apply.
San Dlago CA 92108
city state ziP code 0 Contingent

Who incurred the debt? Check one.

d Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

UNo

n Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

a Other. Speclfy Credit Card

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one,

Debtor 1 only
n Debtor 2 only
n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

d no
n Yes

 

 

 

n Yes
4.20 . 6443 597
Midland Fundin Last 4 digits of account number _ _ _ _ $
Nonpriority Creditor’s Name 2014
_ When was the debt incurred?
2365 Northslde Dr Ste 30
Number Street _
As of the date you fi|e, the claim ls: Check all that apply.
San Diego CA 92108
city State ZlP Code n Contingent
_ Cl unliquidated
Who incurred the debt? Check one. n Dlspuled
d Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only n Student loans
Al least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you ala nat realm as pnamy ala'ms _ ,
n Debts to pension or proiit-sharing plans, and other similar debts
ls the claim subject to offset? m Other. Speclfy § ;rggit § lard
a No
n Yes
4.21 $ §l§
' 8748
Montgomery Wards Last 4 digits of account number _ _ _ _
Nonpriority Creditor’s Name
When was the debt incurred? 2016
P 0 Box 2855
Number Street
As of the date you fi|e, the claim is: Check all that apply.
Monroe WI 53566-8002
city state ziP code D Contingent

n Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

il other. specify Credit Card

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

page § of k

Debtor1 Rhonda

FirstName i e ame La ame

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Your NoNPRloRlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n Yes

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. foul claim
4'22 L 4 di l f b 7577
North|and Group ass g ss o account nom ar _ _ _ _ $ 1836
Nonpriority Creditor’s Name 2015
When was the debt incurred?
P 0 Box 390846
N b St t
um_ er _ rea As of the date you fl|e, the claim is: Check all that app|y.
Mlnneapo|is MN 55439
city state ziP code El contingent
El unliquidated
Who incurred the debt? Check one, n Dlspuled
a Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
Al least one °llha dealers and another n Obligations arising out of a separation agreement or divorce that
Ei check if this claim is for a community debt y°u d'd "°l 'el_’°a as p"°"ly °la'ms , .
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? q ethel Speclfy Credit
d No
n Yes
4.23
' ~ 600
power Air Fryer Oven Last4 digits of account number _ _ _ _ $
Nonpriority Creditor’s Name l/ 2018
When was the debt incurred? ____
500 Returns Road
Number Street . . .
As of the date you fl|e, the claim ls: Check all that app|y.
Wallingford CT 06495
City State ZlP Code n Contingent
_ n Unliquidated
Who incurred the debt? Check one. n Disputed
o Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
Al least one el lha debtors and an°lllel n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you ala not realm aa pneer clalma . .
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? m other_ Speclfy gredit gard
a No
n Yes
`4`24 L t4 d' 'ts f t ber $'Llo
Progress Residenta| as lgl o accoun num _ _ _ _
Nonpriority Creditor’s Name
_ When was the debt incurred? 2016
8485 W Sunset Rd Suite 103
Number Street _ _
As of the date you fi|e, the claim ls: Check all that app|y.
Las Vegas NV 89113
city state ziP code Cl Contingent
El unliquidated
Who incurred the debt? Check one. n Dlspuled
Debtor 1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only n Student loans
Al least one of the dealers and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim ls for a community debt you ala nol fallen aa lancer clalma , _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? E other_ Speclfy Leasing Breachment
é No

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

 

 

 

 

page § ef k

 

Debtor1 Fl_{£l'?nda‘gg%§ dl§&g§@:g§_!ekgong!)o(; l E[]tered 11/07/18;§_§0]®@€@@"0”)|3209 126 rif 70

Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

d Debtor1 only

Cl Debtor2 only

l:l Debtor1 and Debtor 2 only

0 At least one of the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to offset?

aNo

Cl unliquidated
Cl Disputed

Type of NONPR|OR|TY unsecured claim:

0 Student loans

l:l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts
E other. Specify Credit

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. ?otai claim
4`25 L d` ‘ f t 3144
psr Oven ast 4 igits o accoun number _ _ __ _ $ 255
Nonpriority Creditor’s Name 2017
When was the debt incurred?
P O Box 406 40 Daniel St
Number Street . . .
As of the date you fi|e, the claim is: Check all that apply.
Farmiggdale NY 11735-0230
City State ZlP Code 0 Contingent
Cl unliquidated
Who incurred the debt? Check one. C| Disputed
d Debtor1 only
l:l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only 0 Student loans
Al least one °f the debl°rs and an°lhel 0 Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you d'd not report as pnomy cl_alms . .
l:l Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? m Other. Specify Collection
d No
l:l Yes
4.26
ch Last4 digits of account number _ _ _ _ $ 600
Nonpriority Creditor’s Name 2010
When was the debt incurred?
P 0 Box 530905
b
Num er Street As of the date you fi|e, the claim is: Check all that apply
Atlanta GA 30353-095
City state ziP code Cl Contingent

 

 

 

 

Who incurred the debt? Check one.

Debtor 1 only
0 Debtor 2 only
0 Debtor 1 and Debtor 2 only
0 At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?

d No
0 Yes

 

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

0 Yes
4'27 i. t d' its l t b $_300
Real Water as 4 ig o accoun num er _ _ _ _
Nonpriority Creditor’s Name
When was the debt incurred? 2015
3208 W Desert Inn Rd
Number Street _ _ _
As of the date you fi|e, the claim is: Check all that apply.
Las Vegas NV 89102
City State ZlP Code m Contingent

0 Unliquidated
0 Disputed

Type of NONPR|OR|TY unsecured claim:

0 Student loans

l:l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
0 Debts to pension or profit-sharing plans, and other similar debts

m Other. Specify Credit

 

 

 

 

 

 

 

 

page § Of k

Debtor 1

 

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¥our NONPR|OR|TY Unsecured Claims - Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

Swiss Colony
Nonpriority Creditor’s Name

1112 7th Ave

 

 

Number Street
Monroe WI 53566
City State ZlP Code

Who incurred the debt? Check one,

Debtor1 only
n Debtor 2 only
n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

No
n Yes

4.28
Sprint Last 4 digits of account number _ _ ______ _ $ 900
Nonpriority Creditors Name
When was the debt incurred? _I]__ls__
P O Box 4191
N b St t
am ar rea As of the date you flie, the claim ls: Check all that apply.
Carol Stream 1L 60197-4191
city state ziP code l;| Contingent
n Unliquidated
Who incurred the debt? Check one. n Disputed
d Debtor1 only
Cl Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only n Student loans
Al least one el the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you ala not raaoa as pnomy ala'ma , ,
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? a Other_ Specify Cell phone
a No
n Yes
4.29
. Last 4 digits of account number _ _ __ __ $ 398
Sprint Cell Phone
Nonpriority Creditofs Name 2016
_ When was the debt incurred?
6200 Sprint Pkwy
N h t t
am ar a rea As of the date you fi|e, the claim is: Check all that apply.
Overland Park KS 66251
City State ZlP Cf>de n Contingent
n Unliquidated
Who incurred the debt? Check one, n Disputed
o Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n Debtor1 and Debtor2 only n Student loans
n Al leasl °ne °flhe dealers and an°lhel n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd nat report as pnamy ala'ma _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? m Other. Speclfy § ell Phone
a No
n Yes
4.30 $ 365

Last 4 digits of account number _8748_ _ _
When was the debt incurred? 2016

As of the date you fi|e, the claim is: Check all that apply.

n Contingent
Ei unliquidated
Ei Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Deth 10 PenSiOr\ Or profit-sharing plans, and other similar debts
m Other. Specify Credit Card

 

Schedule ElF: Creditors Who Have Unsecured Claims

 

 

 

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page § Of 31

Debtor 1

 

 

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Your NONPR|OR|TY Unsecured Claims - Continuation Fage

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor’s Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one,

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

 

4.31
T Mobile Last 4 digits of account number _____ _ _ _ s 1000
Nonpriority Creditor’s Name 2014
When was the debt incurred?
P 0 Box 742596
Number Street _
_ _ As of the date you f|le, the claim is: Check all that apply.
Cincinnati OH 45274-2596
city state ziP code U Contingent
Unliquidated
_ Ei
Who incurred the debt? Check one. n Disputed
d Debtor1 only
n Debtor2 only Type of NONPR|OR|TY unsecured claim:
n Debtor1 and Debtor2 only n Sludenl loans
n Al leasl one of lhe dealers and an°lhel n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you ala nos realm aa pnomy dallas . .
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? m Othery Speclfy Cell Phone
a No
n Yes
4.32 6992
. Lt4"tsfcnnm 518
web Bank/ Fm erhut as digi o ac ou t u ber _ _ _ _ $_
Nonpriority Creditor’s Name 2011
When was the debt incurred?
215 South State St Set 1000
Number Street _ _ _
As of the date you fi|e, the claim is: Check all that apply
Salt Lake Citv UT 84lll
city State ZlP Code n Contingent
E| unliquidated
Who Incurred the debt? Check one. n Disputed
a Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only n Student loans
Al leas'l one of lhe dealers and an°lhel n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you ala nat realm as pnomy ala'ms , ,
n Debts to pension or pront-sharing plans, and other similar debts
ls the claim subject to offset? m Other. Specify g ;rggj_t §;grg
n No
n Yes
J t

Last 4 digits of account number _
When was the debt incurred?

As of the date you fi|e, the claim ls: Check all that apply

n Contingent
n Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
U other. specify

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

 

 

page 5 Of k

Case 18-16635-|eb Doc 1 Entered 11/07/18 10:29:33 Page 39 of 70

Fill in this information to identify your case:

Debtor Rhonda Denise Rachell CO“O"

First Name Middle Name Last Name

 

Debtor 2
(Spouse lf ialling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of NEVADA

Case number . . .
tiiknown) Cl Check if this is an

amended filing

 

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12115

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
HNo. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
[Cla:Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

 

Name

 

Number Street

 

City State ZlP Code

 

 

2.2

 

Name

 

Number Street

 

City State ZlP Code

 

2.3

 

Name

 

Number Street

 

City State ZlP Code

 

 

2.4

 

Name

 

Number Street

 

City State ZlP Code

 

 

2.5

Name

 

 

N umber Street

 

 

City State ZlP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of_

Case 18-16635-|eb Doc 1 Entered 11/07/18 10:29:33 Page 40 of 70

Debtor1 Rhonda Denise Racheil

First Name

Middle Name

Cotton Case number tit/mom
Last Name

- Additional Page if ¥ou Have More Contracts or Leases

Person or company with whom you have the contract or lease

 

Name

 

Number

Street

 

city

State

ZlP Code

What the contract or lease is for

 

 

Name

 

Number

Street

 

city

State

ZlP Code

 

 

2.8`

 

Name

 

Number

Street

 

city

State

ZlP Code

 

2.9

 

Name

 

Number

Street

 

city

State

ZlP Code

 

 

 

Name

 

Number

Street

 

city

State

ZlP Code

 

 

 

 

 

Name

 

Number

Street

 

city

State

Z|P Code

 

 

Name

 

Number

Street

 

city

State

ZlP Code

 

 

Name

 

Number

Street

 

city

 

State

ZlP Code

 

Official Form 1066

 

Schedule G: Executory Contracts and Unexpired Leases

page _ of

Case 18-16635-|eb Doc 1 Entered 11/07/18 10:29:33 Page 41 of 70

Fill in this information to identify your case:

oeotort Rhonda Denise Racheii Cotton

First Name Middle Name Last Name

Debtor 2
(Spouse, 'rf filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of NEVADA

Case number
(if known)

 

 

C] Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possib|e. lf two married people
are Hling together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the |eft. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (lf you are filing ajoint case, do not list either spouse as a codebtor.)

m No
n Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Ei No. Go to line 3.
n Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

DNo

cl Yes. ln which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

3. |n Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to Hll out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1.' Your codebtor Column 2.' The creditor to whom you owe the debt
Check all schedules that apply:
3.1
Cl Schedule D, line
Name
Cl Schedule E/Fl line
Number street U Schedule G, line
City n b State ZlP Code
3.2
n Schedule D, line
Name _
0 Schedule E/F, line _
Number street Cl Schedule G, line
City State ZlP Code
3.3
Cl Schedule D, line
Name
Cl Schedule E/F, line _
Number street Cl Schedule G, line
city _ state ziP code

 

 

 

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of_

Case 18-16635-|eb Doc 1 Entered 11/07/18 10:29:33 Page 42 of 70

Debtor1 Rhonda Denise Racheli

Cotton

 

First Name Middle Name

Last Name

- Additional Fage to List More Codebtors

Case number titkriown)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Vour codebtor Column 2: The creditor to whom you owe the debt
§ Check all schedules that apply:
Cl Schedule D, line
Name
Cl schedule E/F, line
Number street cl Schedule G, line
City S_t_ate ZlP Code
3;|
Cl Schedule D, line
Name
l:l Schedule E/F, line
Number street Cl Schedule G, line _
City State ZlP Code
3;|
Cl Schedule D, line
Name
Cl schedule E/F, line
Number street cl Schedule G, line
City State ZlP Code
d
Cl Schedule D, line
Name
l:l Schedule E/F, line
Number street Cl Schedule G, line
City State ZlP Code
ial
Cl Schedule D, line
Name
Cl schedule E/F, line
Number street cl Schedule G, line
City State ZlP Code
§
Cl Schedule D, line
Name
Cl schedule E/F, line
Number Street a Schedule G, line
City state ziP code
§
N Cl Schedule D, line
Eme
Cl schedule E/F, line
Number street cl Schedule G, line
E City State ZlP Code
N l:l Schedule D, line
am&
l:l Schedule E/F, line
Number Street a Schedule G, line
City state zlP code

 

Official Form 106H

Schedule H: Vour Codebtors

page _ of _

CaS€ 18-16635-|eb DOC 1 Elitel’ed 11/07/18 10229:33

Fill in this information to identify your case:

Rhonda Denise Rachell COthn

Debtor 1

 

First Name Middle Name Last Name

Debtor 2

 

Middle Name Last Name

NEVADA

(SpOuSe, ifialllng) FirstName

United States Bankruptcy Court for the: District of

Case number
(lf known)

 

 

Page 43 of 70

Check if this is:
n An amended filing

 

Official Form 106|
Schedule l: Your income

 

n A supplement showing postpetition chapter 13
income as of the following date:

MM/DD/YYYY

12l15

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment

Debtor 2 or non-filing spouse

 

information. Debtor 1

lf you have more than one job,

attach a separate page with ,

information about additional Empl°yme"t status § Employed
employers. n Nof employed

include part-fime, seasonal, or

lf- rk. . .
se employed W° occupation Cocktai| waitress

§ Employed
§§ Not employed

 

Occupafion may include student
or homemaker, if if applies.

Employer’s name Planet HOllyWOOd

Employer’s address

3667 Las Vegas Blvd so

 

Number Street

Number Street

 

 

 

City State

How long employed there?

m Give Details About Monthly income

18 years

spouse unless you are separated

below. lf you need more space, attach a separate sheet fo this form.

ZlP Code City State ZlP Code

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. include your non-filing

if you or your non-hling spouse have more than one employer, combine the information for all employers for that person on the lines

 

 

 

For Debtor1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all payroll
deductions). lf not paid monfhly, calculate what the monthly wage would be. 2.
$2400_ $
3. Estimate and list monthly overtime pay. 3. + $ 0 + $
4. Calculate gross income. Add line 2 + line 3. 4. $ 3400 $

 

 

 

 

 

Official Form 106| Schedule l: Your income

page 1

 

CaS€ 18-16635-|eb 'DOC l

 

 

 

 

Entered 11/07/18 10:29:33 Page 44 of 70

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 Rhonda Denise Rachell Cotton Case number (,-,k,,¢,w,,,
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing sgouse
Copy line 4 here ............................................................................................... ') 4. $ 3400 $
5. List all payroll deductions:
5a. Tax, Medicare, and Soclal Security deductions 5a $ 390 $
5b. Mandatory contributions for retirement plans 5b. $ 0 $
5c. Vo|untary contributions for retirement plans 5c. $ 150 $
5d. Required repayments of retirement fund loans 5d. $ 416 $
5e. insurance 5e. $ 0 $
5f. Domestic support obligations 5f. $ 0 $
59. Union dues 59. $ 46 $
5h. Other deductions. Specify: 5h. +$ 0 + $
6. Add the payroll deductions. Add lines 53 + 5b + 5c + 5d + 5e +5f + 59 + 5h. 6. $ ]Q§!Z $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 2398 $
8. List all other income regularly received:
8a Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0 $
monthly net income. 8a.
8b. interest and dividends 8b. $ 0 $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support, maintenance, divorce $ 62 $
settlement, and property settlement 8c. __
8d. Unemp|oyment compensation 8d. $ 0 $
8e. Soclal Security 8e. $ 0 $
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: 8f. $ 0 $
89. Pension or retirement income 89. $ 0 $
8h. Other monthly income. Specify: 8h. + $ 0 + $
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +89 + 8h. 9. $ 62 $
10.Ca|cu|ate monthly income. Add line 7 + line 9. _
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10_ $L + $ _ $2460
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
specify; 11. + $ 0
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabi/ities and Certain Statisticai lnformation, if lt applies 12. $L
Combined

§Zl No.

13. Do you expect an increase or decrease within the year after you file this form?

 

 

 

monthly income

 

ftl Yes. Explain;

 

 

 

Official Form 106|

Schedule |: Your income

page 2

 

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Fill in this information to identify your case:

Rhonda Denise Rachell Cott°n

First Name Middle Name Last Name

Debtor2 Cl An amended filing

(Spouse, ift”i|ing) First Name Middle Name Last Name
Cl A supplement showing postpetition chapter 13
NEVADA .
expenses as of the following date:

Debtor1 Check if this is:

United States Bankruptcyl Court for the: District of

Case number MM / DD/ YYYY
(lfknown)

 

 

Official Form 106J
Schedule J: Your Expenses 12115

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

m Describe Your Household

 

1. ls this a joint case?

HNQ. Go to line 2.
gYes. Does Debtor 2 live in a separate househo|d?

: No
EYes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

2. Do you have dependents? m N° _ _ _
v Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and 'Yes. Fill out this information for Debtor1 °" Debtor2 age Wifh you?
Debtor 2. each dependent ..........................
, - §U_ No
Do not state the dependents Chlld 25
names. WY€$
Chiid 18 id N°
g Yes
Chiid 15 §Elf No
p_ Yes
Chiid 13 in N°
iv Yes
Son n law 23 UN°
gYes
3. Do your expenses include !""6` N°

expenses of people other than ’
yourself and your dependents? §§ Yes

m Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

lnc|ude expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your lncome (Official Form 106|.)

 

4. The rental or home ownership expenses for your residence. include first mortgage payments and ` 1200
any rent for the ground or |ot. 4. $

lf not included in line 4:

4a Real estate taxes 4a. $ 0
4b. Property, homeowner’s, or renter’s insurance 4b. $ 0
4c. Home maintenance, repair, and upkeep expenses 4c. $ 200
4d. Homeowner’s association or condominium dues 4d. $ 0

Official Form 106J Schedule J: Your Expenses page 1

Debtor1 Rhonda Denise Rachell Cotton Case number (”kmwn)
First Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans 5.
6. Utilities:
6a. E|ectricity, heat, natural gas 6a.
6h. Water, sewerl garbage collection Sb.
Sc. Telephone, cell phone, internet, satellite, and cable services Sc.
6d. Other. Specify: 6d.
7. Food and housekeeping supplies 7.
8. Childcare and children’s education costs 8.
9. Clothing, laundry, and dry cleaning 9.
10. Personal care products and services 10.
11. Medical and dental expenses 11.
12. Transportation. include gas, maintenance, bus or train fare.
Do not include car payments. 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13.
14. Charitable contributions and religious donations 14.
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a.
15b. Health insurance 15b.
15c. Vehicle insurance 15<:_
15d. Other insurance. Specify: Disability Ins. 15d_
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16.
17. installment or lease payments:
17a. Car payments for Vehicle 1 17a.
17b. Car payments for Vehicle 2 17b.
17c. Other. Specify: 17c.
17d. Other. Specify: 17d_
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule l, Yourlncome (Official Form 106|). 18.
19. Other payments you make to support others who do not live with you.
Specify: 19,
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your lncome.
20a. Mortgages on other property 20a
20b. Rea| estate taxes 20b.
20c. Property, homeowner’s, or renter’s insurance 20c.
zod. Maintenance, repair, and upkeep expenses zod.
20e. Homeowner’s association or condominium dues 20e.

Official Form 106J

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Schedule J: Your Expenses

 

Your expenses

 

$0

$ 240

$ 100
$ 300

$ 300
$ 50
$ 75
$ 150
$ 40
$ 26

$ 30
$ 100

$ 160
$ 0

$ 300
$ 40

page 2

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Debtor1 Rhonda Denise Rachell Cotton

First Name Middle Name Last Name

21. Other, Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses,

23. Calculate your monthly net income.

23a. Copy line 12 (your combined month/yincome) from Schedu/e /.

23b. Copy your monthly expenses from line 220 above.

230. Subtract your monthly expenses from your monthly income.
The result is your month/y net income.

Case number (irknnwni

21.

22a.

22b.

220.

23a.

23b.

23c.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modiHcation to the terms of your mortgage?

§No.

 

 

 

$ 2460

_$ 3311

 

 

$

-851

 

 

E:YSS- §Exp|ain here:

 

Official Form 106J Schedule J'. Your Expenses

 

page 3

 

 

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Fill in this information to identify your case:

Debtor1 Rhonda Denise Rachell Cotton

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of NEVADA

Case number
(if known)

 

El check ifthis is an
amended filing

 

 

Official Form 106Dec
Declaration About an individual Debtor’s Schedules wis

 

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

UNo

a Yes. Name of person .Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature (Official Form 119),

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

X

Signature of Debtor 2

/
Date Y 40 Date

MM DD l YYYY MM/ DD/ YYYY

 

 

 

Official Form 106Dec Declaration About an individual Debtor’s Schedules

Case 18-16635-|eb DOC 1 Entered 11/07/18 10:29:33 Page 49 of 70

Fill in this information to identify your case:

Debtor1 Rhonda Denise Racheil Cotton

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of NEVADA

Case number

(irknown) m Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 04116

Be as complete and accurate as possible. if two married people are Hling together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this fonn. On the top of any additional pages, write your name and case
number (if known). Answer every question.

m Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

ia:Ma rried
ian Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

TNO

in Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
n Same as Debtor 1 n Same as Debtor1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code
n Same as Debtor 1 n Same as Debtor 1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

MNO

m Yes. Make sure you fill out Schedule H.' Your Codebtors (Official Form 106H).

M Explain the Sources of Your income

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

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Rhonda Denise Racheli

First Name Middle Name

Cotton

Last Name

Debtor 1

Case number (irknown)

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?

Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

§ No
§U' Yes. Fiii in the details

 

Sources of income
Check all that appiy.

Gross income
(before deductions and

exclusions)
From January 1 of current year until w :Vages' °?_mmissi°ns’ $ 38600
the date you Hied for bankruptcy: °nuses' 'ps
cl Operating a business
For last calendar year: m Wages‘ °°.mmissi°ns’ 37730
Y 2017 bonuses, tips $
(January 1 to December 311 r_) n Operating a business
For the calendar year before that: m Wages’ °°.mmissi°ns’
bonuses tips $ 40221

(January 1 to December 311 M) a Operating a business

5. Did you receive any other income during this year or the two previous calendar years?

Sources of income
Check all that app|y.

a Wages, commissions,

bonuses, tips
a Operating a business

n Wages, commissions,
bonuses, tips

cl Operating a business

a Wages, commissions,
bonuses, tips

a Operating a business

 

Gross income

(before deductions and

exclusions)

$ 0

$0

include income regardless of whether that income is taxab|e. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from |awsuits; royalties; and
gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

MNO

§;l:Yes. Fiii in the details

 

Sources of income
Describe below.

Gross income from
each source

(before deductions and

exclusions)
L'f In n
From January 1 of current year until M $ 0
the date you filed for bankruptcy:
For last calendar year: Hn.m.LB.usin.ess $ 0

Sources of income
Describe below.

 

(January 1 to December 31, _)

 

§

 

 

For the calendar year before that: name Business $ 0
(January 1 to December 31, ) $
YYYY ___
$

 

Official Form 107

Statement of Financia| Affairs for individuals Filing for Bankruptcy

Gross income from
each source

(before deductions and

exclusions)

$0

page 2

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Debtor1 Rhonda Denise Rachell Cotton Case number (,-,k,,ow,,)

First Name Middle Name Last Name

 

 

m List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
iii No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

n No. Go to line 7.

n Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

@ Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

536 No. Go to line 7.

§ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
_ $ $ n Mortgage
Creditors Name
n Car
Number Street n Credit Card

n Loan repayment

 

n Supp|iers or vendors

 

 

 

city state ziP code n Other
$ $ n Mortgage
Creditor’s Name
n Car

Cl credit card

 

Number Street

 

n Loan repayment

 

n Supp|iers or vendors

 

 

 

_ n Other
City State ZlP Code
$ $ n Mortgage
Creditor's Name
n Car

n Credit card

 

Number Street

n Loan repayment

 

n Supp|iers or vendors
n Other

 

City State ZlP Code

 

Ofncial Form 107 Statement of Financia| Affairs for lndividua|s Filing for Bankruptcy page 3

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Debtor1 Rhonda Denise Rachell Cotton Case number (,.,kmwn)

 

First Name Middle Name Last Name

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
/ns/'ders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general pariner;
corporations of which you are an ocher, director, person in controi, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony,

§§No

 

 

 

 

 

 

§§ Yes. List all payments to an insider.
l l b Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
insiders Name
Number Street
City State ZlP Code
$ $

 

insider’s Name

 

Number Street

 

 

City State ZlP Code

 

 

8. Within 1 year before you H|ed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on debts guaranteed or cosigned by an insider.

M»No

El Yes. List ali payments that benemed en insider

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment pam owe include creditors name
_ $ $
insider’s Name
Number Street
City State ZlP Code
$ $

 

insider’s Name

 

Number Street

 

 

City State ZlP Code

Official Form 107 Statement of Financia| Affairs for individuals Filing for Bankruptcy page 4

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Debtor1 Rhonda Denise Rachell Cotton

Case number (irknewn)
First Name Middle Name Last Name

 

m identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you H|ed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List ali such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

MNo

§L'I Yes. Fiii in the detaiis.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Cmm Name n Pending
n On appeal
Number Street n Conciuded
Case number
City State ZlP Code
case title own Name Cl Pending
n On appeal
Number Street m Conciuded
Case number
City State ZlP Code

 

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or |evied?
Check all that apply and till in the details below.

55 No. Go to line 11.

fmi Yes. Fill in the information below.

Describe the property Date Value of the property

 

 

 

Creditor’s Name

 

Number Street Explain what happened

El Property was repossessed

 

El Property was foreclosed.
El Property was garnished.

 

city state ziP code El Property was attached seized, or levied

 

 

 

 

 

 

 

Describe the property Date Value of the property

 

Creditors Name

 

Number Street

Explain what happened

Property was repossessed

 

Property was foreclosed

 

Pro rt was arni h .
City State ZlP Code pe y g S ed

DUUU

Property was attached seized, or levied

Official Form 107 Statement of F|nanciai Affairs for individuals Filing for Bankruptcy page 5

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Debtor1 Rhonda Denise Rachell Cotton Case number (,.,knm)

 

 

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

ga No

n Yes. Fill in the detaiis.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor’s Name
$
Number Street
City State ZlP Code Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

iam No
n Yes

m List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNO

l;l Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

Glfts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
, $
Person to Whom You Gave the Grft
$
Number Street
City State ziP code
Person’s relationship to you
Glfts with a total value of more than $SOO Describe the gifts Dates you gave Value
per person b the gifts
. $
Person to Whom You Gave the Grft
$

 

 

 

Number Street

 

city state ziP code

Person’s relationship to you

 

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 6

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Rhonda Denise Rachell Cotton Case number (,-,k,..,.,,,,)
First Name Middle Name Last Name

 

Debtor 1

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

MNO

- m Yes. Fill in the details for each gift or contribution.

 

 

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
. $
Chanty’s Name
$

 

 

Number Street

 

 

 

City State ZlP Code

m List Certain Losses

 

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

iiNo

iq Yes. i=iii in the detaiis_

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred _ _ , _ , loss lost
include the amount that insurance has paid List pending insurance
claims on line 33 of Schedule A/B.' Property.
$

List Certain Payments or Transfers

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone

you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

MNO

iq Yes. i=iii in the detaiis.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid made
Number Street $
$

 

City State ZlP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not You

 

 

 

 

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 7

 

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Debtor 1 Rhonda 'Denise Rache" Cotton Case number (,'[kn°wn)
First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid
$

Number Street
$

 

 

City State ZlP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

El Yes. Fiii in the deiaiis_

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
$
City State ziP Code

 

18. Within 2 years before you ti|ed for bankruptcy, did you se||, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your propeity).
Dg not include gifts and transfers that you have already listed on this statement

§§ No

§les. Fiii in the deiaiis.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

 

Person Who Received Transfer

 

Number Street

 

 

city stare ziP code

 

Person‘s relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

 

 

City State ZlP Code

Person‘s relationship to you

Ochial Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 8

 

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Debtor1 Rhonda Denise Rachell Cot'ton Case number (,-,k,,,,w,,,

First Name Middle Name Last Name

 

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

iq§No

El Yes. Fiii in ihe deiaiis.

Descriptlon and value of the property transferred Date transfer
was made

 

Name of trust

 

 

 

 

 

List Certain Financiai Accounts, lnstrumonts, Safo Doposlt loxos, and Storago Unlts

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, so|d, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares iri banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

HNo

;DF;Yes. Fiii in the details

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transfened
Name of Financiai institution
XXXX- _ n Checking $
n Savings

Number Street
a Money market

 

 

 

 

n Brokerage
City State ZlP Code a other
XXXX-_ _ _ n Checking $
Name of Financiai institution
n Savings
Number Street n Money market

n Brokerage

 

n Other

 

City State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

ii No
ques. Fiii in the details

 

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
n No
Name of Financiai institution Name a Yes
Number street Number Street
City State ZlP Code

 

 

City State ZlP Code

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 9

 

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Debtor 1 Rhonda Denise Rache" Cotton Case number (”known)

First Name Middle Name Last Name

 

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
. No
El Yes Fiii in the details

 

 

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
n No
Name of Storage Faci|ity Name n Yes
Number Street Number Street

 

 

City State ZlP Code

 

City State ZlP Code

identify Property You Hold or Control for Somoono Elso

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
ii_ No
iq Yes Fiii in the detaiis

 

 

 

 

 

 

 

 

Where is the property? Describe the property Value
Owner‘s Name s
` Street
Number Street
City State ZlP Code
City State ZlP Code

 

 

le¢ Dotalls About Environmontll lnformltlon

 

For the purpose of Part 10, the following definitions apply:

z Environmental law means any federal, state, or local statute or regulation concerning poilution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 

a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

iii Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar tenn.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

HNo

El Yes Fiii in the details

 

 

 

Govemmenta| unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZlP Code

 

 

City State ZlP Code

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 10

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Debtor1 Rhonda Denise Rachell Cotton Case number (,,,maw,,)

First Name Middle Name Last Name

 

 

25.Have you notified any governmental unit of any release of hazardous materia|?

iTNo

Ei Yes Fiii in the detaiis

 

 

 

Govemmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZlP Code

 

City State ZlP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

ii No

n Yes. Fiii in the detai|s.

 

 

 

 

 

 

Court or agency Nature of the case (S:;;t:s of the
Case title
Court Name n Pendmg
n On appeal
Number Street n Conciuded
Case number city state ziP code

m Give Dotalls About Your Business or §onnoctlons to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a tradel profession, or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
n An ofEcer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation

ign' No. None of the above applies. Go to Part12.
iii-v Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer identification number
Do not include Social Security number or iTiN.

 

 

Business Name

 

 

 

E|N: _ _ - _______
Number Street
Name of accountant or bookkeeper Dates business existed
From To
City State ZlP Code
Describe the nature of the business Employer identification number

Do not include Social Security number or iTiN.

 

Business Name

 

 

 

ElN:__-_________
Number Street
Name of accountant or bookkeeper Dates business existed
From ____ To

 

City State ZlP Code

 

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 11

 

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Debtor1 Rhonda Denise Rachell Cotton Case number (,~,k,,aw,,)

First Name Middle Name Last Name

 

 

Employer identification number
Do not include Social Security number or iTiN.

Describe the nature of the business

 

 

 

 

 

Business Name

E|N: __-_______
Number s"°°° Name of accountant or bookkeeper DBWS business existed

From TO
City State ZlP Code

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

iqno

l;l Yes. Fiii in the details below.

Date issued

 

Name MM / oo / YYYv

 

Number Street

 

 

City State ZlP Code

l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

siVature of
Date // ? "ZU/f/ Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

§ No
l;l Yes

   

 

Signature of Debtor 2

 
  

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

E|No

m Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 12

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Fill in this information to identity your case:

 

 

 

 

Rhonda ' Cotton
Debtor1 Denise Racheli
First Name Middle Name Last Name
Debtor 2
(Spouse, lffiling) FirstName Middle Name Leerame
United States Bankruptcy Court forthe: District of NEVADA
Case number n Check if this is an
(Ifknown) amended filing

 

Official Form 108
Statement of intention for individuals Filing Under Chapter 7 wis

 

if you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must tile this form with the court within 30 days after you tile your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
if two married people are filing together in ajoint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

 

: 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

 

 

identify the creditor and the property that ls collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
:;:"1:,°[$ Nationai Star Mortgage / Mr Co MSu"ende' the PfOPefiy- / \|O
URetain the property and redeem it. es

 

 

 

Description of
Property
securing debt:

iCTRetain the property and enter into a
Reaff/'rmation Agreement.

mRetain the property and [exp|ain]:
Glenn Home

 

 

 

Cred'tor’s . .
nam;: Reai Time Resoiutions Inc msu"ender the property / No

 

in Retain the property and redeem it. Yes

im Retain the property and enter into a
Reaffirmation Agreement.

 

 

 

 

Description of

property

securing deth
m Retain the property and [exp|ain]:

 

2nd Brayton

 

 

§§;<rer¢`d;lor’$ Nation Star Mr Cooper iiz[ Surrender the property. / . NO
m Retain the property and redeem it. Yes

 

 

 

 

Description of
property
securing debt:

§§ Retain the property and enter into a
Reaffirmation Agreement.

iq Retain the property and [exp|ain]:
Glenn Home

 

 

 

:);trert`:l;tor’s We"s Fargo in Surrender the property. / |N°
m Retain the property and redeem it. ¥es

 

 

 

 

Description of
property
securing debt:

iw Retain the property and enter into a
Reaff/`rmation Agreement.

iu Retain the property and [exp|ain]:

 

Brayton

 

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

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Debtor1 Rhonda Demse Rache" Cotton Case number (lrknown)

First Name Middle Name Last Name

m List Your Unexpired Personal Property Leases

` For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (0fficial Form 1066),
ill in the information below. Do not list real estate ieases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

Describe your unexpired personal property leases Wil| the lease be assumed?
Lessofs name: UN°
Description of leased MYes
property:

Lessofs name: in"§No

iv
Description of leased itt es
property:

Lessor’s name: U'No
Description of leased YUYeS
property:

Lessofs name: §§ No

UYes

Description of leased
property:

Lessor’s name: Q"\io

iq:Yes

Description of leased
property:

Lessor’s name: §§ No

i"@ Yes

 

Description of leased
property:

 

Lessofs name: ijm_i`|o

Description of leased
property:

 

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
pe nal property that is subject to an unexpired |ease.

X

 

 

Signature of Debtor 2

Date
MM/ DD/ YYYv

 

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

Fill in this information to identify your case:

Rhonda Denise Racheii CO“O|\
Debtor 1

 

First Name Middle Name Last Name

Debtor 2

 

(SpOuSe, if filing) First Name Middle Name Last Name

NEVADA

United States Bankruptcy Court for the: District of

Case number
(lf known)

 

 

Check one box only as directed iri this form and in
Form122A-1Supp:

ia' 1. There is no presumption of abuse.

iEl-”Z. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A-2).

iam 3. The Means Test does not apply now because of
qualified military service but it could apply later.

 

 

 

Official Form 122A-1

 

cl Check if this is an amended filing

Chapter 7 Statement of Your Current Monthly income 12/15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if more
space is needed, attach a separate sheet to this forrn. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of

Abuse Under § 707(b)(2) (0fficial Form 122A-1Supp) with this form.

Calculate Your Current Monthly income

1. What is your marital and filing status? Check one only.
q Net married. Fiii out coiumn A, lines 2-11.

2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions).

Column B is filled in.

filled in.’Do not include payments you listed on line 3.

5. Net income from operating a business, profession,
or farm

 

 

 

 

 

7. |nterest, dividends, and royalties

3. A|imony and maintenance payments. Do not include payments from a spouse if

Debtor 1 Debtor 2

 

 

Gross receipts (before all deductions) $ 0 $
Ordinary and necessary operating expenses - $ 0 - $
Net monthly income from a business, profession, or farm $ 0 $

6. Net income from rental and other real property Debtor1 Debtor 2
Gross receipts (before all deductions) $ 0 $
Ordinary and necessary operating expenses - $ 0 - $

Net monthly income from rental or other real property $ 0 $

cl Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
[;l Married and your spouse is NOT filing with you. You and your spouse are:
[;l Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

cl Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(1OA). For example, if you are filing on September 15. the 6-month period would be March 1 through
August 31. ifthe amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in orie column only. lf you have nothing to report for any line, write $O in the space.

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. include regular contributions from a spouse only if Column B is not

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

$ §409 $
$ $
$ 62 $

Copy

here') $_Q_ $

Copy

here') $_0
$

 

 

Official Form 122A-1

Chapter 7 Statement of Your Current Monthly income page 1

 

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Debtor1 Rhonda Denise Rachell Cotton Case number (,.,kmw")
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemp|oyment compensation 5 0 5
Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. |nstead, list it here: ............................... 'b
For you .................................................................................. $
For your spouse .................................................................. 5

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 0 $

10. income from ali other sources not listed above. Specify the source and amount
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. lf necessary, list other sources on a separate page and put the total below.

 

0$

Total amounts from separate pages, if any. + 5 + 5

 

 

11. Calculate your total current monthly income. Add lines 2 through 10 for each + _
column. Then add the total for Column A to the total for Column B. 5 M§z 5 5 3462

 

 

 

 

 

 

Total current
monthly income

m Determine Whether the Means Test Applies to You

 

12. Calculate your current monthly income for the year. Follow these steps:

   

12a. Copy yourtotal current monthly income from line 11. .................................................................................. Copy line 11 here-) 3462

Multiply by 12 (the number of months in a year).

 

12b. The result is your annual income for this part of the form. 12b n

13. Calculate the median family income that applies to you. Follow these steps:

 

Fill in the state in which you live. NEVADA

 

 

 

 

Fill in the number of people in your household. 7

 

 

 

 

Fill in the median family income for your state and size of household. ............................................................................................. 13. $ 100983

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

 

14. How do the lines compare?

weim. Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption ofabuse.
Go to Part 3.

few
14b.§L-l Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

m Sign Below

that the information on this statement and in any attachments is true and correct

X

 

 

 

Sign ture oyebtor ' Signature of Debtor 2
Date / § .2/0 `L/Y Date
MM/DD /YYYY MM/DD /YYYY

lf you checked line 14a, do NOT fill out or file Form 122A-2.
lf you checked line 14b, fill out Form 122A-2 and file it with this form.

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 2

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United States Bankruptcy Court
District Of NEVADA

 

IN RE. Cotton, Rhonda

Debtor(s). Case No.

The above named Debtor(s) hereby verify that the attached list of creditors is true
and correct to the best of my/our knowledge and that it corresponds to the creditors listed

in my/our schedules.

Date i/;r 520/ay %AZOQ%

Dei;tor

 

 

Joint Debtor

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America First Credit Union
P 0 Box 9199
Ogden UT 84409

Att
P 0 Box 537104
Alanta GA 30353

Chase Receivables

755 Baywood Drive

208

Petaluma CA 94954-5508

Convergent
800 Sw 39th St/p 0 Box 9004
Renton WA 98057

Convergent Outsourcing
800 Sw 39th St
Renton WA 98057

Cox Communications
750 N Rancho Dr
Las Vegas NV 89145

Credit One Bank Na
6801 S Cimarron Rd
Las Vegas NV 89113

Custom Funiture Rental
301 S Mlk Blvd
Las Vegas NV 89106

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Desert Valley Ped
6850 N Durango Dr #406
Las Vegas NV 89149

Direct T V
P 0 Box 5014
Carol Stream IL 60197-5014

E 0 S
6564 Losee Rd,
Las Vegas NV 89086

Enhanced Recovery
8014 Bayberry Rd
Jacksonville FL 32256

First Premier Bank
1808 S Cliff Ave
Sioux Falls SD 57105

First Premier Bk
P 0 Box 5514
Sioux Falls SD 57117-5514

Hsn
Po Box 659707
San Antonio TX 78265

K Jordan
P 0 Box 2809
Monroe WI 53566-8009

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Kohl§€ms
P 0 Box 30510
Los Angels CA 90030-0510

Lvac
6050 N Decatur
Las Vegas NV 89031

Midland Funding
2365 Northside Dr Ste 30
San Diago CA 92108

Midland Funding
2365 Northside Dr Ste 30
San Diego CA 92108

Montgomery Wards
P 0 Box 2855
Monroe WI 53566-8002

Nation Star Mr Cooper
1600 E St Andrew Pl
Santa Anna CA 92705

National Star Mortgage / Mr Co
1600 E St Andrew Pl
Santa Ana CA 92705

Northland Group
P 0 Box 390846
Minneapolis MN 55439

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Power Air Fryer Oven
500 Returns Road
Wallingford CT 06495

Progress Residental
8485 W Sunset Rd Suite 103
Las Vegas NV 89113

Psf Oven

P 0 Box 406

40 Daniel St

Farmingdale NY 11735-0230

ch
P 0 Box 530905
Atlanta GA 30353-095

Real Time Resolutions Inc
P 0 Box 731940
Dallas TX 75373-1940

Real Water
3208 W Desert Inn Rd
Las Vegas NV 89102

Sprint
P 0 Box 4191
Carol Stream IL 60197-4191

Sprint Cell Phone
6200 Sprint Pkwy
Overland Park KS 66251

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Swiss Colony
1112 7th Ave
Monroe WI 53566

T Mobile
P 0 Box 742596
Cincinnati OH 45274-2596

Web Bank/ Fingerhut
215 South State St Set 1000
Salt Lake City UT 84111

Wells Fargo
1 Montgomery St
San Francisco CA 94104

